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                                CERTIFICATE OF SERVICE


       I, John W. Chwarzynski Jr., an attorney, hereby certify that on January 8, 2021, I

electronically filed the above motion with the Court’s CM/ECF system, which simultaneously sent

an electronic copy of the same to all counsel of record.



                                                     /s/ John W. Chwarzynski Jr.
